             Case 2:18-cr-00066-TLN Document 51 Filed 10/12/18 Page 1 of 4



 1   DANIEL L. OLSEN, #261645
     Abrate and Olsen Law Group
 2   655 University Ave, Suite 230
     Sacramento, California 95825
 3
     Telephone: (916) 550-2688
 4   Attorney for Rocky Gordon
 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                  )   Case No.: 2:18-cr-0066-2-TLN
     UNITED STATES OF AMERICA,                      )
10                                                  )
                  Plaintiff,                        )   STIPULATION REGARDING
11                                                  )   AMENDMENT TO THE SPECIAL
         vs.                                        )   CONDITIONS OF RELEASE
12   ROCKY GORDON,                                  )
                                                    )   DATE: October 10, 2018
13                Defendant.                        )
                                                    )   COURT: Hon. Deborah Barnes
14
15
16
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES
17
           1. Mr. Gordon is currently on pre-trial release under the supervision of Pretrial Services
18
              with an unsecured $50,000 bond.
19
           2. One of the conditions of his release is home detention, where he is confined to his
20
              trailer unless he gets prior approval of his pre-trial service’s officer to leave.
21
           3. Since his release in July of 2018, Mr. Gordon has been in compliance with all of his
22
              conditions of release.
23
           4. On September 12, 2018, Mr. Gordon had surgery to repair a hernia.
24
           5. As part of the doctor’s order for recovery, Mr. Gordon is to begin walking three times
25
              per day for five to ten minutes at a time with that amount increasing as his recovery
26
              increases.
27
           6. Pretrial Services has received Mr. Gordon’s follow-up medical documents and is
28
              aware of what Mr. Gordon needs to do to recover from his surgery.



                                                                                                   -1-
             Case 2:18-cr-00066-TLN Document 51 Filed 10/12/18 Page 2 of 4



 1         7. In addition to exercise for his medical care, Mr. Gordon has numerous medical
 2            appointments, drug testing, therapy, and the Better Choices program, all of which
 3            require him to leave his trailer.
 4         8. Pretrial services does not have an objection to this request.
 5         9. The Government does not have an objection to this request.
 6         10. By this stipulation, defendant now moves for an order to amend Mr. Gordon’s special
 7            conditions of release from “home detention” to “curfew” as specified in the attached
 8            amended special conditions of release. All other orders currently in effect will remain
 9            in effect.
10
11
     IT IS SO STIPULATED.
12
13   DATED: October 10, 2018                             By:    /s/ Daniel L. Olsen
                                                                DANIEL L. OLSEN
14                                                              Attorney for Rocky Gordon
15
16
17
     DATED: October 10, 2018                                    McGregor Scott
18                                                              United States Attorney
19                                                       By:    /s/ Daniel L. Olsen for
                                                                Amanda Beck
20                                                              Assistant United States Attorney
21   IT IS SO ORDERED.
22
     Dated: October 11, 2018
23
24
25
26
27
28



                                                                                             -2-
            Case 2:18-cr-00066-TLN Document 51 Filed 10/12/18 Page 3 of 4



 1
 2
                     AMENDED SPECIAL CONDITIONS OF RELEASE
 3
                                                                    Re: Rocky Gordon
 4
                                                                    No. 2:18-CR-00066-TLN
 5                                                                  Date:October 4, 2018
 6
     1. You must report to and comply with the rules and regulations of the Pretrial Services Agency;
 7   2. Your release on bond shall be delayed until July 23, 2018, at 9:00 AM, at which time you will be
 8      released from the custody of the U.S. Marshals to the custody of Pretrial Services;
     3. You must reside at a location approved by the pretrial services officer and not move or absent
 9      yourself from this residence for more than 24 hours without the prior approval of the pretrial
        services officer;
10
     4. You must cooperate in the collection of a DNA sample;
11
     5. You must restrict your travel to the Eastern District of California unless otherwise approved in
12      advance by the pretrial services officer;
     6. You must not obtain a passport or other travel documents during the pendency of this case;
13
     7. You must not possess, have in your residence, or have access to a firearm/ammunition, destructive
14      device, or other dangerous weapon; additionally, you must provide written proof of divestment of
        all firearms/ammunition currently under your control;
15
     8. You must refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
16      substance without a prescription by a licensed medical practitioner; and you must notify Pretrial
        Services immediately of any prescribed medication(s). However, medicinal marijuana prescribed
17      and/or recommended may not be used;
18   9. You must submit to drug and/or alcohol testing as approved by the pretrial services officer. You
        must pay all or part of the costs of the testing services based upon your ability to pay, as determined
19      by the pretrial services officer;
20   10. You must participate in a program of medical or psychiatric treatment, including treatment for drug
         or alcohol dependency, as approved by the pretrial services officer. You must pay all or part of the
21       costs of the counseling services based upon your ability to pay, as determined by the pretrial
         services officer;
22
     11. You must report any contact with law enforcement to your pretrial services officer within 24 hours;
23   12. You must participate in the following location monitoring program component and abide by all the
         requirements of the program, which will include having a location monitoring unit installed in your
24
         residence and a radio frequency transmitter device attached to your person. You must comply with
25       all instructions for the use and operation of said devices as given to you by the Pretrial Services
         Agency and employees of the monitoring company. You must pay all or part of the costs of the
26       program based upon your ability to pay, as determined by the pretrial services officer;

27   13. CURFEW: You must remain inside your residence every day from 8:00 p.m. to 8:00 a.m., or as
         adjusted by the pretrial services officer for medical, religious services, employment or court-
28       ordered obligations




                                                                                                     -3-
           Case 2:18-cr-00066-TLN Document 51 Filed 10/12/18 Page 4 of 4


     14. You must participate in the Better Choices court program and comply with all the rules and
 1       regulations of the program. You must remain in the program until released by a pretrial services
 2       officer. In accordance with this condition, you must appear before the Honorable Deborah Barnes,
         courtroom 27, on August 21, 2018 at 11:00AM.
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                                                                -4-
